Verdict for the plaintiff; rule for a new trial; rule discharged, and appeal to the Supreme Court.
The only question which seems to be presented in the case is, whether the defendant had the right to compel the relator to testify as a witness?
The relator is substantially the plaintiff, and we are not aware of any case in which it was held that he was compelled to testify, and it is certainly against general principles. There is a recent statute making parties competent witnesses; but it was passed since the trial of this case, and of course did not apply.
(178)   If any other points were intended to be presented, they were not made at the bar, and are so obscurely stated that they are not considered.
PER CURIAM.                                   Judgment affirmed.
Cited: Hodge v. R. R., 108 N.C. 34.